                                                                                   Motion GRANTED
                                                                                   to surrender by
                          UNITED STATES DISTRICT COURT                             3/29/13 at 2:00 p.m.
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                               NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
                                               )
         v.                                    )      No. 3:10-00215-6
                                               )      Hon. Aleta A. Trauger
                                               )
JEFFREY WAYNE CONNER                           )


        UNOPPOSED MOTION TO CONTINUE DATE FOR SELF SURRENDER

       Comes now the defendant, Jeffrey Wayne Conner, by his court-appointed counsel,

William I. Shockley, and moves this Honorable Court to continue the date set for the defendant’s

self-surrender. In support of this motion, the defendant says:

       The defendant was ordered by this Court to surrender for service of his sentence prior to

2 p.m. on February 28, 2013. (D.E. 416, Judgment, p. 2). To date, BOP has not notified the

defendant directly or through the United States Marshal of the institution it has designated for

service of his sentence – information necessary to insure there is no lapse in the defendant’s

ability to ensure access to essential prescribed medications, including insulin.

       On February 22, 2013 AUSA Blanche Cook agreed to this motion via email.

       Wherefore the defendant respectfully requests an order of this Court extending the date

for his self surrender to March 29, 2013, or to such date as may be specified by the United States

Marshal after designation by BOP, whichever comes first.

                                              Respectfully submitted,

                                              s/ William I. Shockley, BPR #26137
                                              Attorney for Defendant
                                              4505 Harding Road, Ste. 126
                                              Nashville, Tennessee 37205
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